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                          EXHIBIT 3
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 6   Attorneys for Defendants
     Andy Chou, et al.
 7
 8
 9                          UNITED STATES DISTRICT COURT

10                        CENTRAL DISTRICT OFCALIFORNIA

11
                                            )
12   JUUL LABS, INC.,                       )   Case No. CV 21-3056 DSF (PDx)
                                            )
13   PLAINTIFF,                             )
                                            )   DECLARATION OF ANDY CHOU
14                                          )
      vs.                                       RE COMPLIANCE WITH THE
15                                          )
                                            )   HON. JUDGE DALE S. FISCHER’S
16                                          )   TEMPORARY RESTRAINING
     ANDY CHOU, et al.,                     )   ORDER
17   DEFENDANTS.                            )
                                            )
18                                          )
                                            )
19                                          )
                                            )
20                                          )
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21                                          )
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                         DECLARATION OF ANDY CHOU RE COMPLIANCE WITH
                   THE HON. JUDGE DALE S FISCHER’S TEMPORARY RESTRAINING ORDER
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 1                           DECLARATION OF ANDY CHOU
 2
 3       I, ANDY CHOU, hereby declare as follows:
 4       1. I am a resident of the People’s Republic of China. I am over the age of 18. I
 5          have personal knowledge of the matters stated herein, and if called upon to
 6          testify in a court of law, I could and would competently testify to the veracity
 7          of the facts I state in this declaration.
 8       2. I am one of the defendants in the instant lawsuit, and am the principal owner of
 9          the co-defendants Yiwu Cute Jewelry Co., Ltd., Yuwi Xite Jewelry Co., Ltd.,
10          CJ Fulfillment Corp., CJ Trade Corp., and Yiwu Promotional Trade Co., Ltd.
11       3. I make this declaration to confirm my own andco-defendants’ compliance with
12          presiding Hon. Judge Fischer’s Temporary Restraining Order issued on April
13          13, 2021.
14       4. I hereby confirm that all the Defendants have refrained from secreting any
15          assets, and from transferring or conveying any assets held by, for, or on
16          account of any of the defendants since the issuance of the Order.
17       5. A full accounting of the restrained assets has been provided to counsel for
18          JUUL Labs Inc. as listed here in Exhibit 1.
19       6. I can confirm that Defendants have no custody or control of any products
20          bearing or infringing upon the JUUL Marks nor have any such products been
21          held in the Defendants’ inventory since the issuance of the Order.
22       7. I can confirm that Defendants are in full compliance with the Order enjoining
23          the Defendants from using, infringing or diluting the JUUL marks as
24          enumerated in Section C. 1 to C. 11 of the Order.
25       8. I further confirm and attest that the Defendants have not removed from their
26          premises, nor are discarding, destroying, transferring, or disposing in any
27          manner any information, computer files, electronic files, business records
28          (including but not limited to e-mail communications), or other documents

                       DECLARATION OF ANDY CHOU RE COMPLIANCE WITH
                 THE HON. JUDGE DALE S FISCHER’S TEMPORARY RESTRAINING ORDER
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 1            relating to Defendants’ assets and operations or relating in any way to the
 2            purchase, sale, manufacture, offer for sale, distribution, negotiation,
 3            importation, advertisement since the Issuance of the Order.
 4         9. I further confirm that the Defendants have provide to JUUL Labs Inc. counsel
 5            a summary document showing the dates, quantities, names, addresses, and
 6            other contact information, including any and all associated email addresses, of
 7            all suppliers and customers for the preceding 24 months from whom they have
 8            purchased or to whom they have sold any products using the JUUL Marks as
 9            listed in Exhibit 2.
10
11         I declare under penalty of perjury under the laws of the United States that the
12   foregoing is true and correct.
13
14         Executed on May 5, 2021, at ____________ , People’s Republic of China
15
16
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18                                                       _____________________________
19                                                       Andy Chou
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                          DECLARATION OF ANDY CHOU RE COMPLIANCE WITH
                    THE HON. JUDGE DALE S FISCHER’S TEMPORARY RESTRAINING ORDER
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                                                    Exhibit 1
                                                                                                                        Case




Asset Type    Location     Financial Institution     Account Holder /      Account Number (last 4         Balance
                                                          Owner                    digits)
   Bank        China     Yiwu Rural Commercial      Jinhua Cujie Trade        ********0727          14,564,343 RMB
 Account                     Bank Co., Ltd.              Co., Ltd.
   Bank        China     Yiwu Rural Commercial          Lizhi Zhou            *********6578         3,323,435 RMB
 Account                     Bank Co., Ltd.
   Bank       Ireland          Citibank             Hong Kong Fei Lei         ********25829
 Account                                              Shipin Co. Ltd                                500 USD
                                                                                                                        Case2:21-cv-03056-DSF-PD




   Bank        Hong         Shanghai Pudong         Fashion Necklace          **********8350        200 USD
 Account       Kong      Development (SPD) Bank      Jewlery Co. Ltd.
   Bank        U.S.         Bank of America           CJ Trade Corp.          **********1876        50,806.99 USD
 Account
                                                                                                                             2:21-cv-03056-DSF-PD Document




   Bank        U.S.         Bank of America        CJ Fulfillment Corp.       **********7830        239,547.24 USD
 Account
                                                                                                                                                  Document77-5




   Bank        U.S.         Bank of America             Lizhi Zhou            **********4845        56,163.14 USD
 Account
  Paypal       U.S.              Paypal            Yiwu cujia Trade Co.,   1979761568@qq.com        1,243,447.84 USD
                                                                                                                                                           55-8 Filed




 Account                                                   Ltd
 Payoneer      U.S.             Payoneer               Lizhi Zhou          1979761568@qq.com        1,764.83 USD
 Account                                                                                            64.52 EUR
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                                                                                                    17,676,725.97 VND
 Payoneer      U.S.             Payoneer                Lizhi Zhou         1755718621@qq.com        363.16 USD
 Account                                                                                            19,704.52 EURO
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Real Estate    China        Hangzhou, China             Lizhi Zhou
Automobile     China        Hangzhou, Chin              Lizhi Zhou
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                                                      Exhibit 2
                                                                                                                      Case




Transactions


Supplier   Buyer      Date of    Product SKU                   Product Name              Quantity   Unit     Total
 Name      Name      Payment                                                                        Price

 huqian     Max      04/08/20   CJXFZNZN00104-   JUUL00 STARTER1 KIT CHARGER INCLUDE 4     13       13.69   177.97
           Hewlett                  default      FLAVOR PODS With Free ShippingJUUL00
                                                 STARTER1 KIT CHARGER INCLUDE 4 FLAVOR
                                                                                                                      Case2:21-cv-03056-DSF-PD




                                                 PODS With Free Shipping default

 huqian     Max      03/16/20   CJXFZNZN00104-   JUUL00 STARTER1 KIT CHARGER INCLUDE 4     100      13.69   1369.00
           Hewlett                  default      FLAVOR PODS With Free ShippingJUUL00
                                                 STARTER1 KIT CHARGER INCLUDE 4 FLAVOR
                                                                                                                           2:21-cv-03056-DSF-PD Document




                                                 PODS With Free Shipping default

 huqian     Max      12/09/19   CJXFZNZN00104-   JUUL00 STARTER1 KIT CHARGER INCLUDE 4     17       13.69   232.73
                                                                                                                                                Document77-5




           Hewlett                  default      FLAVOR PODS With Free ShippingJUUL00
                                                 STARTER1 KIT CHARGER INCLUDE 4 FLAVOR
                                                                                                                                                         55-8 Filed




                                                 PODS With Free Shipping default

 huqian     Max      12/09/19   CJXFLPCD00042-                                             20       1.00     20.00
           Hewlett                  default               JUUL USB Charger default
                                                                                                                                                              Filed07/19/21




 huqian     Max      10/07/19   CJXFZNZN00104-   JUUL00 STARTER1 KIT CHARGER INCLUDE 4      5       13.69    68.45
           Hewlett                  default      FLAVOR PODS With Free ShippingJUUL00
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                                                 STARTER1 KIT CHARGER INCLUDE 4 FLAVOR
                                                 PODS With Free Shipping default
                                                                                                                                                                             Page66of




 huqian     Max      10/07/19   CJXFLPCD00042-                                              5       1.00     5.00
           Hewlett                  default               JUUL USB Charger default
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                                                     Exhibit 2
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Supplier Information


   Seller         Legal         Date of        Identification           Address          Email        Other Contact
Marketplace   Representative     Birth           Number                                               Information
 Storefront       Name
   Name
   huqian        胡谦            12/04/1988   421126198812041735   湖北省蕲春县蕲州镇               3326632399      Phone:
                Hu, Qian                                         南门村 009 号                @qq.com     17772983125
                                                                                                                      Case2:21-cv-03056-DSF-PD




                                                                 No. 009, Nanmen
                                                                 Village, Qizhou Town,
                                                                 Qichun County, Hubei
                                                                                                                           2:21-cv-03056-DSF-PD Document




                                                                 Province
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